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            EXHIBIT 1
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                    UNITED STATES DISTRICT COURT

               FOR THE NORTHERN DISTRICT OF GEORGIA

                           ATLANTA DIVISION

                 Civil Action No. 1:17-cv-02989-AT

    ____________________________________________________

    DONNA CURLING, et al.,

           Plaintiffs,

    vs.

    BRAD RAFFENSPERGER, et al.,

           Defendants.

    ____________________________________________________



          VIDEOTAPED DEPOSITION OF EMILY MISTY HAMPTON

    DATE:               November 11, 2022

    TIME:               10:49 a.m. to 6:07 p.m.

    LOCATION:           Courtyard by Marriott Warner Robins
                        589 Carl Vinson Parkway
                        Warner Robins, Georgia 31088

    REPORTED BY:      Felicia A. Newland, CSR




                     Veritext Legal Solutions
                 1250 Eye Street, N.W., Suite 350
                      Washington, D.C. 20005
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                                                                Page 54
1      BY MR. BROWN:

2                Q       Was Cathy Latham just standing in

3      front of you talking to Mr. Hall probably?

4                A       I don't --

5                        MR. MILLER:     Object to form.

6      BY MR. BROWN:

7                Q       You don't remember?

8                A       Correct.

9                Q       And you knew Scott Hall by this time,

10     right?

11                       MR. MILLER:     Object to form.

12                       THE WITNESS:     No, sir.

13     BY MR. BROWN:

14               Q       So you said Scott Hall, but you

15     didn't know who he was.         I guess did Mr. Chaney

16     know who he was?

17                       MR. MILLER:     Object to form.

18                       THE WITNESS:     I do not know.

19     BY MR. BROWN:

20               Q       In this text you say, "Like we talked

21     about the other day."        So you spoke with Mr. Chaney

22     about scanning ballots.         Is that right?
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                                                                Page 55
1                        MR. MILLER:     Let me advise my client,

2      please.

3                    (Counsel speaking to client off the

4                    record.)

5                        THE WITNESS:     I'll take the Fifth

6      Amendment.

7      BY MR. BROWN:

8                Q       And scanning ballots was code for

9      making a forensic copy of the entire Coffee County

10     Election System, right?

11               A       I'll take the Fifth.

12               Q       Scott Hall wasn't about to come just

13     to scan ballots, was he?

14                       MR. MILLER:     Object to form.

15                       THE WITNESS:     I do not know.

16     BY MR. BROWN:

17               Q       You don't remember when you first

18     learned the name Scott Hall?

19               A       No, sir.

20               Q       You didn't know who he was on

21     January 6th?

22               A       I do not recall.
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1                   CERTIFICATE OF NOTARY PUBLIC

2    I, FELICIA A. NEWLAND, CSR, the officer before whom

3    the foregoing video-recorded deposition was taken,

4    do hereby certify that the witness whose testimony

5    appears in the foregoing deposition was duly sworn

6    by me; that the testimony of said witness was taken

7    by me in stenotype and thereafter reduced to

8    typewriting under my direction; that said deposition

9    is a true record of the testimony given by said

10   witness; that I am neither counsel for, related to,

11   nor employed by any of the parties to the action in

12   which this deposition was taken; and, further, that

13   I am not a relative or employee of any counsel or

14   attorney employed by the parties hereto, nor

15   financially or otherwise interested in the outcome

16   of this action.

17

18

19                                     _____________________

20                                   FELICIA A. NEWLAND, CSR
                                     Notary Public
21
     My commission expires:
22   September 15, 2024
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